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                                                                 Selection Criteria

Slip.Date                  6/1/2008 - 6/30/2008
Clie.Selection             Include: Shapes-CC
Slip.Slip Type             Time




Slip ID                                                     Attorney
  Dates and Time                                            Activity
  Status                                                    Client
  Description                                               Reference                       Units    Rate       Slip Value
175951                        TIME                          ADH                              1.70   435.00          739.50
  6/2/2008                                                  Plan&Disclosure Statement
  WIP                                                       Shapes-CC
  Telephone call with R. Kellner regarding due dilligence
  efforts. (.4) ; Follow-up with S. Victor. (.3) ; Commence
  review of plan and disclosure statement. (1.0)

175811                      TIME                           WB                               0.20    370.00           74.00
  6/2/2008                                                 Plan&Disclosure Statement
  WIP                                                      Shapes-CC
  Review recent filings.

176628                    TIME                             CEM                              0.20    225.00           45.00
  6/2/2008                                                 Motions&Applications
  WIP                                                      Shapes-CC
  Review ECF, alert A. Halperin, D. Lieberman and E.
  Ganc regarding same.

176959                       TIME                          EDG                              0.40    280.00          112.00
  6/2/2008                                                 Pleadings
  WIP                                                      Shapes-CC
  Finalize notices of withdrawal of Trustee and
  exclusivity termination motions. (.1) ; Draft email to
  local counsel regarding same. (.1) ; Draft follow-up
  email to Debtor's counsel regarding Manko retention
  and review response regarding same. (.2)

175950                     TIME                            ADH                              0.10    435.00           43.50
  6/2/2008                                                 Motions&Applications
  WIP                                                      Shapes-CC
  Discuss withdrawals with E. Ganc.

175949                      TIME                            ADH                             0.70    435.00          304.50
  6/2/2008                                                  General
  WIP                                                       Shapes-CC
  Respond to creditor inquiries. (.4) ; Telephone call with
  R. Kellner regarding case status. (.3)

176069                      TIME                           DHL                              0.70    350.00          245.00
  6/3/2008                                                 General
  WIP                                                      Shapes-CC
  Review of M. Felger email regarding plan
  administration agreement. (.1) ; Email to A. Halperin
  regarding same. (.1) ; Exchange of emails with I.
  Volkov regarding plan documents. (.1) ; Review of A.
  Halperin comments and email to group. (.4)

175969                    TIME                             ADH                              0.30    435.00          130.50
  6/3/2008                                                 General
  WIP                                                      Shapes-CC
  Telephone calls with Committee members regarding
  case issues.
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  Dates and Time                                           Activity
  Status                                                   Client
  Description                                              Reference                        Units    Rate       Slip Value
175970                      TIME                           ADH                               0.70   435.00          304.50
  6/3/2008                                                 Financing
  WIP                                                      Shapes-CC
  Emails with H. Konicov regarding report. (.2) ;
  Preliminary review of J. H. Cohn report. (.5)

175971                     TIME                            ADH                              2.20    435.00           957.00
  6/3/2008                                                 Plan&Disclosure Statement
  WIP                                                      Shapes-CC
  Review and revise liquidation trust agreement.

176645                    TIME                             CEM                              0.20    225.00            45.00
  6/3/2008                                                 Motions&Applications
  WIP                                                      Shapes-CC
  Review ECF, alert A. Halperin, D. Lieberman and E.
  Ganc regarding same.

175880                    TIME                             DJC                              0.20    335.00            67.00
  6/3/2008                                                 General
  WIP                                                      Shapes-CC
  Conference with and email to A. Halperin regarding
  certain trust language.

175977                     TIME                          ADH                                3.80    435.00          1653.00
  6/4/2008                                               Plan&Disclosure Statement
  WIP                                                    Shapes-CC
  Continued review of plan documents. (1.1) ; Emails
  with HIG counsel regarding same. (.3) ; Discuss case
  issues with Committee members. (.8) ; Emails
  regarding plan documents with Brody and Felger. (.4) ;
  Draft language insert and revisions to documents. (1.2)

176975                    TIME                             EDG                              0.20    280.00            56.00
  6/4/2008                                                 Pleadings
  WIP                                                      Shapes-CC
  Read and review Liston Smith stay relief motion and
  calendar deadlines and dates. (.2) ; Prepare
  Committee expense sheet template.

176669                    TIME                             CEM                              0.20    225.00            45.00
  6/4/2008                                                 Motions&Applications
  WIP                                                      Shapes-CC
  Review ECF, alert A. Halperin, D. Lieberman and E.
  Ganc regarding same.

176075                      TIME                           DHL                              1.10    350.00           385.00
  6/4/2008                                                 General
  WIP                                                      Shapes-CC
  Meeting with A. Halperin and review of plan
  administration revision; Drafting of new language.

176073                      TIME                           DHL                              0.70    350.00           245.00
  6/4/2008                                                 General
  WIP                                                      Shapes-CC
  Review of A. Brody revisions to plan administration
  agreement. (.4) ; Email to A. Brody with query. (.1) ;
  Email to A. Halperin with comments. (.2)

176680                    TIME                             CEM                              0.20    225.00            45.00
  6/5/2008                                                 Motions&Applications
  WIP                                                      Shapes-CC
  Review ECF, alert A. Halperin, D. Lieberman, and E.
  Ganc regarding same.

176079                      TIME                           DHL                              2.00    350.00           700.00
  6/5/2008                                                 General
  WIP                                                      Shapes-CC
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  Dates and Time                                             Activity
  Status                                                     Client
  Description                                                Reference                     Units    Rate       Slip Value
  Review of claims register. (.5) ; Review of Felger
  comments regarding plan administration agreement.
  (.4) ; Revisions to same. (.4) ; Emails to A. Halperin, S.
  Sass regarding Trust. (.2) ; Placed call to S. Sass
  regarding terms. (.1) ; Review of additional A. Brody
  and M. Felger comments. (.2) ; Review of commitment
  letter, etc. (.2)

175987                     TIME                         ADH                                3.60    435.00          1566.00
  6/5/2008                                              Plan&Disclosure Statement
  WIP                                                   Shapes-CC
  Continued review of plan documents. (2.1) ; Telephone
  calls with Committee members regarding due diligence
  process and Trustee position. (1.2) ; Emails with
  various counsel regarding plan documents. (.3)

175988                      TIME                           ADH                             0.10    435.00            43.50
  6/5/2008                                                 Financing
  WIP                                                      Shapes-CC
  Emails with I. Volkov regarding lien review.

175996                      TIME                           ADH                             1.00    435.00           435.00
  6/6/2008                                                 Meetings & Hearings
  WIP                                                      Shapes-CC
  Prepare for, and participate in, conference call with S.
  Victor regarding sale process.

176085                      TIME                          DHL                              1.30    350.00           455.00
  6/6/2008                                                General
  WIP                                                     Shapes-CC
  Review of A. Halperin memo to Committee. (.2) ;
  Conference call with A. Halperin and S. Victor. (1.0) ;
  Meeting with A. Halperin regarding memo to
  Committee. (.1)

175997                    TIME                             ADH                             1.10    435.00           478.50
  6/6/2008                                                 General
  WIP                                                      Shapes-CC
  Draft extensive update memo to the Committee.

176087                      TIME                           DHL                             0.40    350.00           140.00
  6/6/2008                                                 General
  WIP                                                      Shapes-CC
  Email to A. Halperin regarding plan administration
  agreement. (.2) ; Email to group with final and redline.
  (.2)

175995                        TIME                       ADH                               4.30    435.00          1870.50
  6/6/2008                                               Plan&Disclosure Statement
  WIP                                                    Shapes-CC
  Email with A. Brody regarding Trust comments. (.2) ;
  Review of plan administration agreement, and revise
  same. (.7) ; Emails with Committee regarding plan and
  liquidation Trustee. (.5) ; Emails with Committee
  members regarding plan packages, and missing
  components. (.5) ; Follow-up with Debtor regarding
  same. (.3) ; Review of other plan supplement
  documents. (.9) ; Follow-up regarding same. (.5) ;
  Attention to sale process, and discuss with S. Victor.
  (.4) ; Telephone call with B. Katz regarding process.
  (.3)

177035                    TIME                             JBM                             0.50     95.00            47.50
  6/6/2008                                                 General
  WIP                                                      Shapes-CC
  Begin preparation of monthly fee statement,
  conference with A. Halperin and D. Lieberman
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  Dates and Time                                        Activity
  Status                                                Client
  Description                                           Reference                       Units    Rate       Slip Value
  regarding same.

176010                       TIME                        ADH                            0.50    435.00           217.50
  6/8/2008                                               Plan&Disclosure Statement
  WIP                                                    Shapes-CC
  Emails with H. Konicov and R. Kellner regarding sale
  process. (.3) ; Emails with Debtors' counsel regarding
  service of plan, ballots and related documents. (.2)

177036                     TIME                         JBM                             1.00     95.00            95.00
  6/9/2008                                              General
  WIP                                                   Shapes-CC
  Continued preparation of monthly fee statement.

176707                     TIME                         CEM                             0.20    225.00            45.00
  6/9/2008                                              Motions&Applications
  WIP                                                   Shapes-CC
  Review ECF, alert D. Lieberman and E. Ganc.

176708                        TIME                      CEM                             0.50    225.00           112.50
  6/9/2008                                              General
  WIP                                                   Shapes-CC
  Draft letters to court regarding D. Lieberman pro hac
  vice application and prepare checks for same, review
  local rules regarding same. (.3) ; Forward same to
  court. (.2)

176011                      TIME                           ADH                          5.10    435.00          2218.50
  6/9/2008                                                 Plan&Disclosure Statement
  WIP                                                      Shapes-CC
  Telephone conference with H. Konicov regarding sale
  process and information for possible buyers. (.5) ;
  Extensive telephone conference with A. Brody
  regarding progress on plan issues. (.6) ; Telephone
  conference with H. Konicov and R. Kellner regarding
  process and possible bidders. (.7) ; Emails with HIG's
  and Debtor's counsel regarding liquidation Trustee. (.2)
  ; Follow-up regarding same. (.4) ; Review emails on
  Reserve and related issues, and respond to same. (.5)
  ; Emails regarding liquidation Trustee selection, and
  follow-up regarding same. (.6) ; Review data supplied
  by H. Konicov. (1.3) ; Telephone call with A. Brody
  regarding case, and issues. (.3)

177037                     TIME                        JBM                              1.20     95.00           114.00
  6/10/2008                                            General
  WIP                                                  Shapes-CC
  Finalize, and email monthly fee statement to counsel
  for service.

176025                         TIME                      ADH                            2.50    435.00          1087.50
  6/10/2008                                              Plan&Disclosure Statement
  WIP                                                    Shapes-CC
  Review financial data provided by H. Konicov. (.6) ;
  Emails with Debtor's and HIG's counsel regarding plan
  supplement. (.3) ; Multiple emails with H. Konicov and
  NatCity regarding review of sale process and due
  diligence efforts. (.8) ; Office conferences with D.
  Lieberman regarding plan supplement, and follow-up
  regarding same with others. (.8)

176024                     TIME                        ADH                              0.80    435.00           348.00
  6/10/2008                                            General
  WIP                                                  Shapes-CC
  Receive and review expense reimbursement request,
  and follow-up with Debtor's and HIG's counsel
  regarding same. (.5) ; Email to R. Kellner regarding
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  Dates and Time                                          Activity
  Status                                                  Client
  Description                                             Reference                       Units    Rate       Slip Value
  same. (.1) ; Emails with I. Volkov regarding payment of
  bills. (.2)

176993                      TIME                       EDG                                0.30    280.00            84.00
  6/10/2008                                            Pleadings
  WIP                                                  Shapes-CC
  Read and review email from Debtor's counsel
  regarding Sheehan stay relief motion, PSE&G motion.
  (.2) ; Office conference with D. Lieberman regarding
  same. (.1)

176091                        TIME                            DHL                         2.40    350.00           840.00
  6/10/2008                                                   General
  WIP                                                         Shapes-CC
  Email regarding plan administration agreement
  finalization. (.2) ; Review of email traffic regarding plan
  supplement documents, fees and expenses. (.2) ;
  Review of fee summary for monthly statement. (.3) ;
  Review of claims register and memo to A. Halperin and
  I. Volkov regarding same. (1.7)

176724                    TIME                            CEM                             0.20    225.00            45.00
  6/10/2008                                               Motions&Applications
  WIP                                                     Shapes-CC
  Review ECF, alert A. Halperin, D. Lieberman and E.
  Ganc.

176737                    TIME                            CEM                             0.20    225.00            45.00
  6/11/2008                                               Motions&Applications
  WIP                                                     Shapes-CC
  Review ECF, alert A. Halperin, D. Lieberman and E.
  Ganc.

176035                        TIME                           ADH                          1.20    435.00           522.00
  6/11/2008                                                  Claims Review & Analysis
  WIP                                                        Shapes-CC
  Attention to claims filings and reconciliation, categories
  of claims and need for immediate objections.

176036                      TIME                           ADH                            2.70    435.00          1174.50
  6/11/2008                                                Financing
  WIP                                                      Shapes-CC
  Review email regarding default. (.3) ; Telephone calls
  with A. Brody regarding default and related issues. (.6)
  ; Follow-up with B. Katz and H. Konicov regarding
  same. (.8) ; Telephone conference with B. Katz, H.
  Konicov and M. Felger regarding same. (1.0)

176034                      TIME                        ADH                               0.80    435.00           348.00
  6/11/2008                                             Plan&Disclosure Statement
  WIP                                                   Shapes-CC
  Emails with H. Konicov regarding budget and
  payments. (.1) ; Office conferences with D. Lieberman
  regarding case progress and issues. (.7)

176094                   TIME                           DHL                               0.50    350.00           175.00
  6/11/2008                                             General
  WIP                                                   Shapes-CC
  Review and respond to email traffic regarding claims,
  plan supplement, §363 motion.

176098                       TIME                          DHL                            3.00    350.00          1050.00
  6/11/2008                                                General
  WIP                                                      Shapes-CC
  Review of default notice from Arch. (.2) ; Meeting with
  A. Halperin. (.5) ; Conference call with A. Halperin and
  B. Katz. (.3) ; Conference call with A. Halperin and A.
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  Dates and Time                                       Activity
  Status                                               Client
  Description                                          Reference                        Units    Rate       Slip Value
  Brody. (.6) ; Conference call with A. Halperin, M.
  Felger. (1.0) ; Drafting - memo to Committee. (.4)

176747                     TIME                        CEM                              0.20    225.00            45.00
  6/12/2008                                            Motions&Applications
  WIP                                                  Shapes-CC
  Review ECF, alert D. Lieberman and E. Ganc.

176046                    TIME                         ADH                              0.90    435.00           391.50
  6/12/2008                                            General
  WIP                                                  Shapes-CC
  Respond to Committee member questions regarding
  case status and issues.

176998                    TIME                          EDG                             0.50    280.00           140.00
  6/12/2008                                             Pleadings
  WIP                                                   Shapes-CC
  Draft memo to A. Halperin regarding Phoenix retention.

176047                      TIME                     ADH                                3.00    435.00          1305.00
  6/12/2008                                          Financing
  WIP                                                Shapes-CC
  Review and revise memo to the Committee regarding
  default and other issues. (1.0) ; Review analysis
  provided by H. Konicov, and telephone call with H.
  Konicov regarding memo to Committee. (.7) ;
  Telephone calls with Committee members in response
  to Committee memo. (.9) ; Extensive telephone
  conference with B. Katz and H. Konicov regarding
  Phoenix and cash management and related issues.
  (.4)

176055                    TIME                         ADH                              1.00    435.00           435.00
  6/12/2008                                            Plan&Disclosure Statement
  WIP                                                  Shapes-CC
  Respond to emails regarding DIP and plan issues from
  Debtor and HIG.

176101                     TIME                           DHL                           0.50    350.00           175.00
  6/12/2008                                               General
  WIP                                                     Shapes-CC
  Review/analysis of email traffic regarding labor, asset
  purchase agreement, default. (.3) ; Review of fee
  statements of Debtor's professionals. (.2)

176099                      TIME                        DHL                             0.50    350.00           175.00
  6/12/2008                                             General
  WIP                                                   Shapes-CC
  Meeting with A. Halperin, drafting of memo to Perfect
  Trade in response to queries; Revisions to memo to
  Committee regarding DIP, labor issues, claims.

176063                  TIME                      ADH                                   1.30    435.00           565.50
  6/13/2008                                       Asset Sales
  WIP                                             Shapes-CC
  Commence review of asset purchase agreement and
  motion.

176105                     TIME                           DHL                           2.70    350.00           945.00
  6/13/2008                                               General
  WIP                                                     Shapes-CC
  Email D. McElhinney regarding service overseas. (.1) ;
  Review of email regarding creditor query. (.1) ; Review
  of draft asset purchase agreement and revisions to
  same. (2.2) ; Memo to A. Halperin regarding asset
  purchase agreement. (.2) ; Placed call to A. Halperin
  regarding overseas creditors. (.1)
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  Status                                                   Client
  Description                                              Reference                        Units    Rate       Slip Value
177001                       TIME                          EDG                               0.20   280.00           56.00
  6/13/2008                                                Pleadings
  WIP                                                      Shapes-CC
  Exchange emails with Debtor's counsel regarding
  status of negotiation with Sheehan stay relief motion.

176061                        TIME                         ADH                              5.30    435.00          2305.50
  6/13/2008                                                Plan&Disclosure Statement
  WIP                                                      Shapes-CC
  Telephone conference with J. Drew and Glencore
  regarding plan, status and claims. (.4) ; Respond to
  creditor inquiries regarding plan. (.5) ; Emails with
  Debtors counsel regarding plan, loan, bar date and
  other issues. (.5) ; Emails with NatCity and J. H. Cohn
  regarding due diligence and update. (.3) ; Review data
  regarding same. (.6) ; Respond to additional creditor
  inquiries. (.5) ; Extensive emails with Epiq regarding
  packages, notice and resending to overseas creditors.
  (.6) ; Follow-up with creditors regarding packages. (.3)
  ; Office conference with D. Lieberman regarding asset
  purchase agreement. (.5) ; Continue review of asset
  purchase agreement. (1.1)

176062                      TIME                          ADH                               0.70    435.00           304.50
  6/13/2008                                               Claims Review & Analysis
  WIP                                                     Shapes-CC
  Follow-up regarding claims. (.3) ; Emails with noticing
  agent, and follow-up with Chinese creditor. (.4)

176756                     TIME                            CEM                              0.20    225.00            45.00
  6/13/2008                                                Motions&Applications
  WIP                                                      Shapes-CC
  Review ECF, alert D. Lieberman and E. Ganc.

176064                    TIME                             ADH                              0.70    435.00           304.50
  6/13/2008                                                General
  WIP                                                      Shapes-CC
  Review and comment on J. H. Cohn report to the
  Committee and follow-up with H. Konicov regarding
  same.

176065                   TIME                              ADH                              1.30    435.00           565.50
  6/14/2008                                                Plan&Disclosure Statement
  WIP                                                      Shapes-CC
  Continued review and mark-up of asset purchase
  agreement.

176066                      TIME                           ADH                              0.10    435.00            43.50
  6/15/2008                                                Plan&Disclosure Statement
  WIP                                                      Shapes-CC
  Emails with I. Volkov regarding asset purchase
  agreement comments.

176136                     TIME                            ADH                              1.10    435.00           478.50
  6/16/2008                                                Motions&Applications
  WIP                                                      Shapes-CC
  Review invoices circulated for ordinary course
  professionals, and email D. Lieberman regarding
  same. (.3) ; Review §363 motion and comment on
  same. (.8)

176135                      TIME                         ADH                                0.20    435.00            87.00
  6/16/2008                                              Claims Review & Analysis
  WIP                                                    Shapes-CC
  Telephone call with creditors regarding administrative
  bar date.
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  Status                                                  Client
  Description                                             Reference                        Units    Rate       Slip Value
176137                       TIME                         ADH                               1.00   435.00          435.00
  6/16/2008                                               General
  WIP                                                     Shapes-CC
  Emails with Committee members regarding case
  issues. (.6) ; Review J. H. Cohn report to Committee.
  (.4)

176134                      TIME                          ADH                              2.30    435.00          1000.50
  6/16/2008                                               Asset Sales
  WIP                                                     Shapes-CC
  Finish review and comment on asset purchase
  agreement and integrate all comments received into
  one master. (1.7) ; Telephone conference with I.
  Volkov regarding environmental issues under asset
  purchase agreement. (.2) ; Emails with Committee
  professionals regarding same. (.1) ; Emails to I. Vlkov
  and J. H. Cohn regarding our comments and issues to
  be reviewed. (.3)

176138                      TIME                          ADH                              1.90    435.00           826.50
  6/16/2008                                               Plan&Disclosure Statement
  WIP                                                     Shapes-CC
  Extensive telephone conference with Committee
  professionals to go through asset purchase
  agreement, and follow-up on §363 motion.

176761                    TIME                            CEM                              0.20    225.00            45.00
  6/16/2008                                               Motions&Applications
  WIP                                                     Shapes-CC
  Review ECF, alert A. Halperin and E. Ganc.

176109                      TIME                           DHL                             3.10    350.00          1085.00
  6/16/2008                                                General
  WIP                                                      Shapes-CC
  Review of revised asset purchase agreement. (.5) ;
  Conference call with A. Halperin, I. Volkov, J. H. Cohn.
  (1.9) ; Review of §363 motion and memo to A.
  Halperin, I. Volkov. (.7)

176770                    TIME                            CEM                              0.20    225.00            45.00
  6/17/2008                                               Motions&Applications
  WIP                                                     Shapes-CC
  Review ECF, alert A. Halperin and E. Ganc.

176504                      TIME                         DHL                               2.30    350.00           805.00
  6/17/2008                                              General
  WIP                                                    Shapes-CC
  Continued review of revised asset purchase
  agreement. (.4) ; Conference call. (1.2) ; Drafting of
  Section 8 addition to asset purchase agreement. (.2) ;
  Exchange of emails regarding asset purchase
  agreement issues. (.3) ; Email regarding overseas
  creditors. (.2)

176153                     TIME                           ADH                              0.50    435.00           217.50
  6/17/2008                                               General
  WIP                                                     Shapes-CC
  Extensive discussions with counsel to HIG regarding
  assorted asset purchase agreement terms and
  environmental issues.

176152                      TIME                          ADH                              0.40    435.00           174.00
  6/17/2008                                               Claims Review & Analysis
  WIP                                                     Shapes-CC
  Attention to service on overseas creditors.
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  Dates and Time                                            Activity
  Status                                                    Client
  Description                                               Reference                      Units    Rate       Slip Value
176151                        TIME                          ADH                             2.30   435.00        1000.50
  6/17/2008                                                 Meetings & Hearings
  WIP                                                       Shapes-CC
  Prepare for, and participate in, all hands call to review
  asset purchase agreement and discuss timing,
  logistics and status. (2.1) ; Discuss hearing logistics
  with other professionals. (.2)

176150                      TIME                          ADH                              3.10    435.00          1348.50
  6/17/2008                                               Asset Sales
  WIP                                                     Shapes-CC
  Continue review of motion and mark-up of same. (1.1)
  ; Circulate mark-up to counsel to HIG and Debtors. (.3)
  ; Follow-up on insurance issues. (.5) ; Email to the
  Committee regarding asset purchase agreement and
  process. (.7) ; Follow-up with Committee members.
  (.5)

176856                       TIME                         DHL                              1.20    350.00           420.00
  6/18/2008                                               General
  WIP                                                     Shapes-CC
  Review of revised asset purchase agreement and
  revisions to same. (.9) ; Email to A. Halperin and I.
  Volkov with same. (.1) ; Email of asset purchase
  agreement with comments to group. (.2)

176855                     TIME                           DHL                              0.90    350.00           315.00
  6/18/2008                                               General
  WIP                                                     Shapes-CC
  Revision to §363 procedures order. (.7) ; Review of
  emails regarding union vote. (.2)

176379                     TIME                         ADH                                0.50    435.00           217.50
  6/18/2008                                             Plan&Disclosure Statement
  WIP                                                   Shapes-CC
  Discuss voting with M. Felger and follow-up regarding
  same with Committee.

176378                      TIME                          ADH                              0.90    435.00           391.50
  6/18/2008                                               Motions&Applications
  WIP                                                     Shapes-CC
  Review case filings.

176377                     TIME                           ADH                              1.80    435.00           783.00
  6/18/2008                                               Asset Sales
  WIP                                                     Shapes-CC
  Follow-up regarding asset purchase agreement and
  review and revise turned draft of asme.

176376                   TIME                             ADH                              0.40    435.00           174.00
  6/18/2008                                               General
  WIP                                                     Shapes-CC
  Emails with Committee members regarding expense
  reimbursement.

176375                     TIME                        ADH                                 0.60    435.00           261.00
  6/18/2008                                            Meetings & Hearings
  WIP                                                  Shapes-CC
  Emails with counsel to Debtors, HIG, I Volkov and D.
  Lieberman regarding hearing scheduled on §363 bid
  procedures.

176810                    TIME                            CEM                              0.20    225.00            45.00
  6/18/2008                                               Motions&Applications
  WIP                                                     Shapes-CC
  Review ECF alert A. Halperin and E. Ganc.
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  Dates and Time                                        Activity
  Status                                                Client
  Description                                           Reference                        Units    Rate       Slip Value
176860                      TIME                        DHL                               0.40   350.00          140.00
  6/19/2008                                             General
  WIP                                                   Shapes-CC
  Review of emails regarding asset purchase
  agreement, unions. (.3) ; Meeting with A. Halperin
  regarding same. (.1)

176393                       TIME                      ADH                               1.60    435.00          696.00
  6/19/2008                                            Claims Review & Analysis
  WIP                                                  Shapes-CC
  Emails with M. Felger and J. Poslusny regarding
  claims issues. (.4) ; Follow-up regarding same with
  Committee members. (.3) ; Follow-up on claims issues
  and filings. (.9)

176392                      TIME                          ADH                            1.50    435.00          652.50
  6/19/2008                                               Plan&Disclosure Statement
  WIP                                                     Shapes-CC
  Emails with Committee regarding AccuWeld vote. (.4) ;
  Office conference with D. Lieberman regarding how to
  proceed now in light of AccuWeld vote. (.3) ; Review of
  voting results to date and follow-up regarding same.
  (.8)

176785                    TIME                          CEM                              0.20    225.00           45.00
  6/19/2008                                             Motions&Applications
  WIP                                                   Shapes-CC
  Review ECF, alert A. Halperin and E. Ganc.

176391                     TIME                         ADH                              1.70    435.00          739.50
  6/19/2008                                             Asset Sales
  WIP                                                   Shapes-CC
  Continued review of asset purchase agreement and
  changes. (1.2) ; Telephone conference with A. Brody
  regarding same, union votes and necessary
  modification. (.5)

176796                   TIME                           CEM                              0.20    225.00           45.00
  6/20/2008                                             Claims Review & Analysis
  WIP                                                   Shapes-CC
  Review and respond to emails regarding claims
  objections.

176527                     TIME                         ADH                              0.20    435.00           87.00
  6/20/2008                                             Executory Contracts
  WIP                                                   Shapes-CC
  Emails with M. Felger regarding status of CBA
  amendments.

176864                       TIME                       DHL                              0.40    350.00          140.00
  6/20/2008                                             General
  WIP                                                   Shapes-CC
  Review of information regarding contingent claims for
  contribution. (.2); Review of Pennsauken stipulation.
  (.2)

176868                  TIME                            DHL                              0.20    350.00           70.00
  6/20/2008                                             General
  WIP                                                   Shapes-CC
  Review of E. Ganc memo regarding 503(b)(9)
  settlement.
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  Dates and Time                                          Activity
  Status                                                  Client
  Description                                             Reference                        Units    Rate       Slip Value
176795                    TIME                            CEM                               0.20   225.00           45.00
  6/20/2008                                               Motions&Applications
  WIP                                                     Shapes-CC
  Review ECF, alert A. Halperin, D. Lieberman, and E.
  Ganc.

176526                       TIME                         ADH                              1.00    435.00          435.00
  6/20/2008                                               Plan&Disclosure Statement
  WIP                                                     Shapes-CC
  Emails with Committee members regarding plan
  issues. (.4) ; Discussions with H. Konicov and
  Committee members regarding plan funding. (.6)

176525                      TIME                          ADH                              1.10    435.00          478.50
  6/20/2008                                               Claims Review & Analysis
  WIP                                                     Shapes-CC
  Discuss claims issues and objections with D.
  Lieberman. (.4) ; Review expense reimbursement
  requests, and follow-up regarding same. (.3) ; Office
  conference with E. Ganc regarding 503(b)(9)
  settlement, and follow-up with H. Konicov regarding
  same. (.4)

176530                      TIME                          ADH                              0.20    435.00           87.00
  6/22/2008                                               Motions&Applications
  WIP                                                     Shapes-CC
  Emails with I. Volkov regarding claims objections.

176537                   TIME                        ADH                                   0.40    435.00          174.00
  6/23/2008                                          Executory Contracts
  WIP                                                Shapes-CC
  Telephone conferences with A. Brody regarding CBAs
  and how to proceed.

176538                      TIME                         ADH                               1.70    435.00          739.50
  6/23/2008                                              General
  WIP                                                    Shapes-CC
  Extensive telephone conference with J. H. Cohn
  regarding status and update. (.7) ; Draft update email
  to the Committee. (.6) ; Follow-up with several
  Committee members. (.4)

177007                      TIME                      EDG                                  0.10    280.00           28.00
  6/23/2008                                           Pleadings
  WIP                                                 Shapes-CC
  Draft follow-up email to Debtor's counsel regarding
  Liston Smith stay relief motion and PSE&G motion to
  compel.

177006                       TIME                         EDG                              0.30    280.00           84.00
  6/23/2008                                               Claims Review & Analysis
  WIP                                                     Shapes-CC
  Read and review email from Debtor's counsel
  regarding Blue Ridge claim and late allowance of
  same. (.2) ; Draft email to A. Halperin and D.
  Lieberman regarding same. (.1)

176539                      TIME                          ADH                              1.30    435.00          565.50
  6/23/2008                                               Motions&Applications
  WIP                                                     Shapes-CC
  Attention to claims objections filed by Debtors.
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  Status                                                   Client
  Description                                              Reference                        Units    Rate       Slip Value
176540                     TIME                            ADH                               0.20   435.00           87.00
  6/23/2008                                                Financing
  WIP                                                      Shapes-CC
  Emails with A. Brody regarding budget and related
  issues.

176541                        TIME                         ADH                              1.20    435.00          522.00
  6/23/2008                                                Plan&Disclosure Statement
  WIP                                                      Shapes-CC
  Discuss due diligence process and bidders with S.
  Victor. (.5) ; Follow-up regarding same. (.6) ; Emails
  with M. Felger regarding CBA's. (.1)

176819                     TIME                         CEM                                 2.00    225.00          450.00
  6/23/2008                                             Claims Review & Analysis
  WIP                                                   Shapes-CC
  Review ECF and alert A. Halperin, E. Ganc. (.2) ;
  Review claims objections. (.5) ; Additional review of
  claims objections and draft multiple memos regarding
  same. (1.3)

176934                     TIME                       ADH                                   0.30    435.00          130.50
  6/24/2008                                           Motions&Applications
  WIP                                                 Shapes-CC
  Discuss joint defense group motion with E. Ganc and
  D. Lieberman.

176933                    TIME                             ADH                              0.30    435.00          130.50
  6/24/2008                                                Plan&Disclosure Statement
  WIP                                                      Shapes-CC
  Emails with Committee professionals regarding cure
  schedule.

176932                      TIME                           ADH                              0.40    435.00          174.00
  6/24/2008                                                General
  WIP                                                      Shapes-CC
  Respond to creditor inquiries.

176870                       TIME                          DHL                              0.90    350.00          315.00
  6/24/2008                                                General
  WIP                                                      Shapes-CC
  Review of response to Liston letter. (.2) ; Review and
  respond to query regarding joint defense motion. (.2) ;
  Respond to A. Halperin query regarding plan
  administration terms. (.2) ; Placed calls (2x) to Regina
  at Epiq regarding administrative claims. (.2) ; Review
  of administrative proof of claim. (.1)

176838                      TIME                           CEM                              0.70    225.00          157.50
  6/24/2008                                                Claims Review & Analysis
  WIP                                                      Shapes-CC
  Additional review of claims objections. (.4) ; Review
  ECF, alert A. Halperin, D. Lieberman and E. Ganc
  regarding same. (.2) ; Office conference with D.
  Lieberman. (.1)

176931                     TIME                         ADH                                 0.50    435.00          217.50
  6/24/2008                                             Financing
  WIP                                                   Shapes-CC
  Telephone calls with H. Konicov regarding budget, and
  follow-up regarding same. (.2) ; Emails with A. Brody
  regarding extending budget and environmental issues.
  (.3)
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  Status                                                  Client
  Description                                             Reference                       Units    Rate       Slip Value
176941                    TIME                            ADH                              0.30   435.00          130.50
  6/25/2008                                               Financing
  WIP                                                     Shapes-CC
  Discuss budget with H. Konicov.

176942                      TIME                          ADH                             0.80    435.00          348.00
  6/25/2008                                               Plan&Disclosure Statement
  WIP                                                     Shapes-CC
  Emails with HIG, Debtors' and Committee
  professionals regarding plan voting, and follow-up
  regarding same. (.5) ; Emails with professionals
  regarding bids, and follow-up regarding same. (.3)

176940                    TIME                            ADH                             0.10    435.00           43.50
  6/25/2008                                               Motions&Applications
  WIP                                                     Shapes-CC
  Review withdrawal of motion.

176939                  TIME                              ADH                             0.50    435.00          217.50
  6/25/2008                                               General
  WIP                                                     Shapes-CC
  Respond to Committee members' inquiries.

176873                      TIME                              DHL                         0.60    350.00          210.00
  6/25/2008                                                   General
  WIP                                                         Shapes-CC
  Review of emails regarding voting and confirmation.
  (.2) ; Review of cure exhibit. (.2) ; Review of C. Mitchell
  summaries of claims objections. (.2)

177055                      TIME                          ADH                             2.10    435.00          913.50
  6/26/2008                                               General
  WIP                                                     Shapes-CC
  Review of voting results and underlying claims. (1.1) ;
  Discuss same with H. Konicov, and follow-up with D.
  Lieberman. (.3) ; Discuss cap with H. Konicov. (.3) ;
  Emails with M. Felger regarding open issues. (.4)

177106                      TIME                          ADH                             1.30    435.00          565.50
  6/27/2008                                               Claims Review & Analysis
  WIP                                                     Shapes-CC
  Attention to claims issues. (.9) Emails with debtors
  and Epiq regarding administrative claims review and
  analysis. (.4)

177107                    TIME                            ADH                             0.30    435.00          130.50
  6/27/2008                                               General
  WIP                                                     Shapes-CC
  Attention to Committee expense reimbursement.

177108                     TIME                           ADH                             0.70    435.00          304.50
  6/27/2008                                               Plan&Disclosure Statement
  WIP                                                     Shapes-CC
  Discussion of cap with H. Konicov and follow-up.

177109                   TIME                             ADH                             0.40    435.00          174.00
  6/30/2008                                               Plan&Disclosure Statement
  WIP                                                     Shapes-CC
  Review voting summary.

177110                     TIME                         ADH                               0.40    435.00          174.00
  6/30/2008                                             General
  WIP                                                   Shapes-CC
  Telephone calls with creditors regarding case process
  and issues.
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  Dates and Time                                        Activity
  Status                                                Client
  Description                                           Reference                         Units    Rate       Slip Value
177111                      TIME                        EDG                                0.20   280.00           56.00
  6/30/2008                                             Claims Review & Analysis
  WIP                                                   Shapes-CC
  Office conference with A. Halperin regarding claims
  transfers.


Grand Total
                                                        Billable                         122.30               48413.50
                                                        Unbillable                         0.00                   0.00
                                                        Total                            122.30               48413.50
